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13 Attorneys for Plaintiff
14 [Additional Counsel listed on signature page.]
15                               UNITED STATES DISTRICT COURT
16
                               SOUTHERN DISTRICT OF CALIFORNIA

17    JANE DOE,                                 Case No.: 20-cv-01818-MMA-MSB
18                Plaintiff,                    JOINT MOTION TO DISMISS ALL
19                                              CLAIMS OF PLAINTIFF AGAINST
            v.                                  VIDEO DEFENDANTS WITH
20                                              PREJUDICE
      CISSY STEELE, AKA CISSY GERALD;
21    DIABOLIC VIDEO PRODUCTIONS, INC.;
22    BLACK ICE LTD.; ZERO TOLERANCE            Courtroom: 3D
      ENTERTAINMENT, INC.; THIRD                Judge:     Hon. Michael M. Anello
23    DEGREE FILMS; ELEGANT ANGEL,
24    INC.; KNPB MEDIA B.V; 24-7 INTERNET,      Complaint Filed:   September 15, 2020
      INC; TUBEXXXONE.COM; WREAL, LLC;
25    AV ENTERTAINMENT, INC;
      ASEXBOX.COM; AND EXCALIBUR
26    FILMS, LTD.
27
                  Defendants.
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                   JOINT MOTION TO DISMISS VIDEO DEFENDANTS WITH PREJUDICE
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 1          In accordance with Federal Rule of Civil Procedure 41(1)(a), after attending the
 2    settlement conference, Plaintiff Jane Doe (“Plaintiff”), on the one hand, and Defendants
 3    Diabolic Video Productions, Inc., Black Ice LTD, Zero Tolerance Entertainment, Inc.,
 4    Third Degree Films (collectively the “Video Defendants”) (together, the “Parties”), on the
 5    other hand, jointly request that all claims of Plaintiff against Video Defendants be
 6    dismissed with prejudice. Additionally, the Parties agree and stipulate that Greg Alves and
 7    Gregg Dunn had no knowledge of any alleged wrongful conduct. Each party to this motion
 8    has agreed to bear its own costs and attorneys’ fees.
 9
10     Dated: August 19, 2022                   By:      /s/ Deborah S. Dixon
                                                       John H. Gomez, Esq.
11
                                                       Deborah S. Dixon, Esq.
12                                                     GOMEZ TRIAL ATTORNEYS
13
                                                By:     /s/ Greg G. Gutzler
14                                                     Greg G. Gutzler, Esq.
                                                       DICELLO LEVITT GUTZLER LLC
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16                                              By:      /s/ Lisa D. Haba
                                                       Lisa D. Haba, Esq.
17
                                                       THE HABA LAW FIRM, P.A.
18
                                                       Benjamin W. Bull*
19
                                                       Dani Bianculli Pinter*
20                                                     Christen M. Price*
21
                                                       Peter Gentala*
                                                       NATIONAL CENTER ON SEXUAL
22                                                     EXPLOITATION
23
                                                       Counsel for Plaintiff Jane Doe
24
25     Dated: August19, 2022                    By:     /s/ Jonathan W. Brown
26                                                     Jonathan W. Brown, Esq.
                                                       Paul J. Cambria, Jr.
27                                                     LIPSITZ GREEN SCIME
28                                                     CAMBRIA, LLP

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                    JOINT MOTION TO DISMISS VIDEO DEFENDANTS WITH PREJUDICE
     Case 3:20-cv-01818-MMA-MSB Document 118 Filed 08/19/22 PageID.721 Page 3 of 4




 1
                                           By:   /s/ Whitney Z. Bernstein
 2
                                                 Whitney Z. Bernstein
 3                                                Anthony R. Bisconti
                                                  BIENERT KATZMAN LITTRELL
 4
                                                  WILLIAMS, LLP
 5
                                                 Attorney for Defendants Diabolic
 6
                                                 Video Productions, Inc., Black Ice
 7                                               LTD, Zero Tolerance Entertainment,
 8
                                                 Inc. and Third Degree Films

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                   JOINT MOTION TO DISMISS VIDEO DEFENDANTS WITH PREJUDICE
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 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that on August 19, 2022, I electronically filed the foregoing with the
 3 Clerk of the Court using the CM/ECF system which will send notification of such filing to
 4 the e-mail addresses denoted on the Electronic Mail Notice List.
 5         I certify under penalty of perjury under the laws of the United States of America that
 6 the foregoing is true and correct. Executed on August 19, 2022.
 7
 8                                                     /s/ Deborah S. Dixon
                                                        DEBORAH S. DIXON
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                   JOINT MOTION TO DISMISS VIDEO DEFENDANTS WITH PREJUDICE
